                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT WINCHESTER

  MARY ELIZABETH COOPER,                          )
                                                  )        Case No. 4:22-cv-3
         Plaintiff,                               )
                                                  )        Judge Travis R. McDonough
  v.                                              )
                                                  )        Magistrate Judge Christopher H. Steger
  GLEN OAKS HEALTHCARE LLC and                    )
  VIVIANT CARE MANAGEMENT LLC                     )
                                                  )
         Defendants.                              )


                                              ORDER


        Following remand from the United States Court of Appeals for the Sixth Circuit (Doc.

 40), before the Court is the question of whether it possess subject-matter jurisdiction over this

 matter. Also before the Court is Plaintiff Mary Elizabeth Cooper’s motion for jurisdictional

 discovery (Doc. 24).

        While evaluating whether it possessed subject-matter jurisdiction over this action, the

 Court observed that Defendants’ previously submitted evidence in support of their position that

 BTGO HealthCare Holdings, LLC is the sole of owner of Glen Oaks Healthcare LLC (“Glen

 Oaks”) lacked authentication. Accordingly, on April 25, 2023, the Court ordered that

 Defendants authenticate this evidence by May 1, 2023. (Doc. 42.) The Court also ordered

 Defendants to file Glen Oaks’ Operating Agreement or provide a sworn statement that such a

 document does not exist and ordered Cooper to provide the Court with a specific description of

 what she seeks in jurisdictional discovery. (Id.) Defendants ignored this order and failed to

 respond. Therefore, the Court will GRANT Cooper’s motion for jurisdictional discovery.

 Defendants shall respond to Cooper’s requested discovery (Doc. 43-1) by June 26, 2023. The



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 parties shall file any supplemental briefings regarding subject-matter jurisdiction, which are not

 to exceed ten pages, by July 10, 2023.

        SO ORDERED.

                                               /s/ Travis R. McDonough
                                               TRAVIS R. MCDONOUGH
                                               UNITED STATES DISTRICT JUDGE




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